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   Cupertino Electric, Inc.
 9
                                     UNITED STATES DISTRICT COURT
10
                                  NORTHERN DISTRICT OF CALIFORNIA
11
     JAY WISE, individually, and all similarly         )   CASE NO. 5:23-CV-04232-SVK
12   situated individuals,                             )
                                                       )
13                               Plaintiff,            )   STIPULATION TO EXTEND TIME WITHIN
                                                       )   WHICH TO ANSWER OR RESPOND
14                  v.                                 )
                                                       )
15   CUPERTINO ELECTRIC, INC.,                         )   The Hon. Susan van Keulen
                                                       )
16                                Defendant.           )   Trial Date:   None Set
                                                       )
17

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19          Pursuant to Civil Local Rule 6-1(a), the parties to this action stipulate to extend Defendant
20 Cupertino Electric, Inc.’s, time within which to answer or otherwise respond to the complaint until 45

21 days after the filing of a Consolidated Complaint by Plaintiff. In the event that no Consolidated Complaint

22 is filed, the deadline for Defendant to answer or respond to the complaint shall be November 3, 2023.

23          The basis for said extension was due to the recent retention of Defendant's counsel on this matter

24 and to allow counsel time to investigate Plaintiff's allegations as pled in the Complaint in order to properly

25 respond to the same. Additionally, the parties are also discussing the consolidation of the present action

26 with the recently-filed Crowl v. Cupertino Electric, Inc., Case No. 5:23-cv-04007-VKD. Finally, it is the
   Parties' position that this extension of time for Defendant to respond will allow for a more expeditious and
27
   efficient litigation and/or resolution of this case.
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                                             1
30              STIPULATION TO EXTEND TIME TO RESPOND TO INITIAL COMPLAINT
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 1       DATED: September 14, 2023                        Respectfully submitted,

 2       SROURIAN LAW FIRM, P.C.                          WOOD SMITH HENNING & BERMAN, LLP

 3                                                        /s/ Michael N. Hirota
         /s/1
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 5       Attorney for Plaintiffs                          Attorneys for Defendant

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28  In compliance with Civil Local Rule 5-1(i)(3), the filer of this document attests under penalty of
   perjury that all signatories have concurred in the filing of this document.
   CASE NO. 5:23-CV-04232-SVK
                                                          2
30             STIPULATION TO EXTEND TIME TO RESPOND TO INITIAL COMPLAINT
